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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 GENOMIND, INC.,                                           CIVIL ACTION
                       Plaintiff,

               v.

 UNITEDHEALTH GROUP INC.;                                  NO. 21-373
 UNITED HEALTHCARE SERVICES,
 INC.; UNITED HEALTHCARE
 INSURANCE COMPANY; UNITED
 HEALTHCARE SERVICE LLC; UNITED
 BEHAVIORAL HEALTH; UMR, INC.;
 OXFORD HEALTH PLANS, LLC;
 OPTUM, INC.,
                 Defendants.

                                          ORDER

       AND NOW, this 1st day of September, 2021, upon consideration of Defendants’ Motion

to Dismiss (ECF No. 29), Plaintiff’s Response in Opposition to the Motion to Dismiss (ECF No.

31), and Defendants’ Reply to the Response to the Motion to Dismiss (ECF No. 32), it is

HEREBY ORDERD that the Motion to Dismiss (ECF No. 29) is DENIED.

                                                   BY THE COURT:

                                                   /s/Wendy Beetlestone, J.

                                                   WENDY BEETLESTONE, J.
